4:04-cr-03081-RGK-DLP       Doc # 75    Filed: 06/02/05   Page 1 of 1 - Page ID # 669




                   THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )             4:04CR3081
                                       )
                   Plaintiff,          )
                                       )
      vs.                              )             MEMORANDUM
                                       )             AND ORDER
BRIAN LAMAR PARKER,                    )
                                       )
                   Defendant.          )

       The defendant has filed a motion (filing 70) for reconsideration of my order
(filing 69) denying his fourth motion for an extension of time within which to object
to the Magistrate Judge’s Report and Recommendation, which recommended denial
of the defendant’s motions to suppress. In support of his motion, the defendant has
also filed what would be his objections (filing 71) to the Magistrate Judge’s Report
and Recommendation had they been timely filed pursuant to the numerous extensions
of time that were granted to do so. I shall deny the defendant’s motion. 1

      IT IS ORDERED that the defendant’s motion for reconsideration (filing 70) is
denied.

      DATED this 2nd day of June, 2005.

                                       BY THE COURT:
                                       s/Richard G. Kopf
                                       United States District Judge



      1
       After reviewing the defendant’s objection (filing 71) filed with his motion for
reconsideration, I note that had the defendant submitted his objection in a timely
fashion, it would not have changed my decision to adopt the Magistrate Judge’s
Report and Recommendation.
